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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 3.2.1
                               Eastern Division

Terry Martin
                          Plaintiff,
v.                                                Case No.: 1:07−cv−04991
                                                  Honorable Ronald A. Guzman
J Quinn, et al.
                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 5, 2008:


       MINUTE entry before the Honorable Ronald A. Guzman:Settlement conference
held on 8/5/2008. Final pretrial conference held on 8/5/2008. Mailed notice(cjg, )




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